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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 23-cv-3258

GUNNISON COUNTY STOCKGROWERS’ ASSOCIATION, INC., a Colorado Nonprofit
Corporation; and
COLORADO CATTLEMEN’S ASSOCIATION, a Colorado Nonprofit Corporation,

         Plaintiffs,

v.

U.S. FISH AND WILDLIFE SERVICE;
MARTHA WILLIAMS, in her official capacity as Director of the U.S. Fish and Wildlife
Service;
COLORADO DIVISION OF PARKS AND WILDLIFE;
JEFF DAVIS, in his official capacity as Director of Colorado Parks and Wildlife;
ERIC ODELL, in his official capacity as Wolf Conservation Program Manager for Colorado
Division of Parks and Wildlife; and
COLORADO PARKS AND WILDLIFE COMMISSION,

         Defendants.

                                   VERIFIED COMPLAINT



         1.      Plaintiffs, Gunnison County Stockgrowers’ Association, Inc. (“GCSA”) and

Colorado Cattlemen’s Association (“CCA”), by and through their undersigned attorneys, bring

this action against the United States Fish and Wildlife Service (“FWS”); Martha Williams, in her

official capacity as Director of FWS (collectively with FWS, “Federal Defendants”); the

Colorado Division of Parks and Wildlife (“Division”); Jeff Davis, in his official capacity as

Director of the Division; Eric Odell, in his official capacity as Wolf Conservation Program

Manager; and the Colorado Parks and Wildlife Commission (“Commission” and collectively

with Defendant Division, “CPW,” and collectively with Defendants Division, Jeff Davis, and
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Eric Odell, “State Defendants”). Plaintiffs seek declaratory and injunctive relief to enforce the

National Environmental Policy Act (“NEPA”), 42 U.S.C. §§ 4321, et seq., and prevent the

unlawful release of gray wolves into Colorado.

       2.      Plaintiffs challenge the decision of FWS to renew the Cooperative Agreement

entered into between FWS and CPW (the “Agreement”) pursuant to section 6(c) of the

Endangered Species Act (“ESA”), 15 U.S.C. § 1535(c), for the period of October 1, 2023

through September 30, 2024. Renewal of the agreement for this upcoming period was an

approval of the Commission’s plan to reintroduce and manage gray wolves and grants the

Division the legal authority necessary to procure and import gray wolves, a highly controversial

endangered species, into Colorado. Plaintiffs seek a declaratory judgment and a mandatory

injunction requiring the Federal Defendants to comply with NEPA by preparing an

environmental impact statement on the reintroduction of wolves in Colorado. Plaintiffs also seek

an injunction to prohibit the State Defendants, or any qualified employee or agent thereof, from

releasing any wolves into Colorado unless and until an adequate environmental impact statement

has been prepared and the Agreement lawfully renewed for the upcoming period.

                                            PARTIES

       3.      Plaintiff GCSA is a Colorado nonprofit corporation comprised of over 100

members of the local ranching community in Gunnison and Saguache Counties, Colorado. The

GCSA reflects the primary land use in the Gunnison River Basin and holds as one of its purposes

the protection of range privileges and the interests of the stock raising industry in the Gunnison

River Basin. GCSA and its members live in and around locations selected as potential wolf

release sites and identified as having high ecological suitability for gray wolves. The
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reintroduction of gray wolves in Colorado will cause significant adverse impacts to the

properties, businesses, and other vested interests of GCSA and its members.

       4.      CCA, the oldest cattlemen’s organization in the United States, founded in 1867, is

incorporated under the laws of the State of Colorado and represents all segments of the beef

supply chain. Its direct and indirect membership totals approximately 6,000 producers,

individuals, and businesses. Additionally, 49 local, breed, and issue organizations across the state

operate within the CCA structure. CCA’s members own or lease approximately 70% of the

state’s private, state, and federal grazing lands, totaling more than 25 million acres. CCA

members not only provide the majority of wildlife habitat on private lands, but preserve

significant open space for public access. CCA represents most of the livestock producers in the

State of Colorado. The reintroduction of gray wolves in Colorado will cause significant adverse

impacts to the properties, businesses, and vested interests of CCA and its members..

       5.      Defendant FWS is a federal agency within the United States Department of

Interior that has been delegated the responsibility to administer the ESA, including the authority

to enter into and renew cooperative agreements with a state for the purpose of assisting an

endangered and threatened fish or wildlife conservation program.

       6.      Defendant Martha Williams is the Director of FWS and is sued in her official

capacity.

       7.      Defendant Division is a state agency within the Colorado Department of Natural

Resources that is responsible for the reintroduction of gray wolves in Colorado, including,

among other things, the procuring and releasing of individual wolves. C.R.S. § 33-2-105.8.

       8.      Defendant Jeff Davis is the Director of CPW and is sued in his official capacity.
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        9.     Defendant Commission is a state agency within the Colorado Department of

Natural Resources that developed Colorado Wolf Restoration and Management Plan (“Plan”)

and is responsible for the reintroduction of wolves, by, among other things, “[t]ak[ing] the steps

necessary to begin reintroduction of gray wolves by December 31, 2023,” and “[o]verse[ing]

gray wolf restoration and management, including the distribution of state funds. . . .” C.R.S. §

33-2-105.8(2). The Commission is also responsible for issuing regulations and developing

programs for the management of endangered species in Colorado and developed the Plan. Id. §§

33-2-104, 33-2-105.

                                JURISDICTION AND VENUE

        10.    This action arises under federal law, and specifically NEPA, 42 U.S.C. § 4321 et

seq., and is brought under the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 701 et seq.;

see also Ross v. Fed. Highway Admin., 162 F.3d 1046, 1053 (10th Cir. 1998); see also Zeppelin

v. Fed. Highway Admin., 293 F.Supp.3d 1267, 1284 (D. Colo. 2017) (stating that a non-federal

entity is subject to APA jurisdiction by “consent through participation in a federal process,

consent through accepting federal money, or both”).

        11.    This Court has jurisdiction over this action under 28 U.S.C. § 1331, which grants

the district courts federal question jurisdiction, and 28 U.S.C. § 1361, which grants jurisdiction

to the district courts over an action in mandamus to compel the performance of duties by federal

officers and may issue a declaratory judgment and further relief under 28 U.S.C. §§ 2201 and

2202.

        12.    Venue is appropriate in this Court under 28 U.S.C. § 1391(e) because FWS is an

agency of the United States with multiple offices in Colorado and Defendant Williams is an
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employee or officer of the United States and all or a substantial part of the events giving rise to

this action occurred within this judicial district. Specifically, review of CPW’s request to renew

the Agreement under challenge was conducted by a regional office of FWS located in

Lakewood, Colorado. In addition, the Agreement is an agreement between FWS and CPW, an

agency of the State of Colorado, and concerns exclusively the management of threatened and

endangered species within Colorado, including the proposed reintroduction of gray wolves to the

state. Plaintiffs and their members reside in this district.


                                      LEGAL FRAMEWORK

                                   The Endangered Species Act

        13.     The ESA makes it illegal for any person to “take” any endangered species without

a permit or authorization. 16 U.S.C. § 1538(a)(1)(B). “Take” means “to harass, harm, pursue,

hunt, shoot, wound, kill, trap, capture, or collect, or attempt to engage in any such conduct.” 16

U.S.C. § 1532(19).

        14.     Under Section 6 of the ESA, the Secretary of the Interior “is authorized to enter

into a cooperative agreement . . . with any State which establishes and maintains an adequate and

active program for the conservation of endangered species and threatened species.” 16 U.S.C. §

1535(c)(1).

        15.     To determine that a state’s program for the conservation of endangered and

threatened species is adequate and active, “the Secretary must find and annually thereafter

reconfirm such finding,” that the state has established “acceptable conservation programs,

consistent with the purposes and policies of [the ESA], for all resident species of fish or wildlife

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in the State which are deemed by the Secretary to be endangered or threatened, and has furnished

a copy of such plan and program together with all pertinent details, information, and data

requested to the Secretary.” 16 U.S.C. § 1535(c)(1)(B).

       16.     A qualified employee or agent of a state conservation agency which is a party to a

cooperative agreement with FWS entered into pursuant to section 6(c) of the ESA who is

designated by the agency for such purposes, may, when acting in the course of their official

duties, “take” an endangered species covered by that cooperative agreement in accordance with

the cooperative agreement if it does not result in the death or permanent disabling of the

specimen. 16 U.S.C. § 1535(g)(2)(A); 50 C.F.R. § 17.21(c)(5)(i).

       17.     FWS may designate a population of an endangered species as “experimental” if it

will be released into a habitat that is outside of the species’ current range. 16 U.S.C. § 1539(j).

The individuals of an experimental population are then subject to a relaxed standard under the

ESA, allowing agencies to implement management tools and regulations otherwise prohibited.

Id. §§ 1539(j)(2)(C).

                            The National Environmental Policy Act

       18.     NEPA, 42 U.S.C. §§ 4321 et seq., was enacted to ensure fully informed decision

making and to provide for public participation in such decision making. 40 C.F.R. § 1500.1(a).

The Council on Environmental Quality (“CEQ”) promulgates regulations implementing NEPA

that are binding on all federal agencies. 40 C.F.R. § 1500.3(a). Agency actions taken pursuant to

NEPA are reviewable by this Court under the Administrative Procedure Act (“APA”). 5 U.S.C.

§§ 702, 704, 706.


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       19.     NEPA requires an Environmental Impact Statement (“EIS”) to be prepared for all

“major Federal actions significantly affecting the quality of the human environment. . . .” 42

U.S.C. § 4332(2)(C). For proposed actions where the environmental effects are uncertain, the

agency must prepare an Environmental Assessment. 40 C.F.R. § 1501.5.

       20.     Major federal action means “an activity or decision subject to Federal control and

responsibility” that is discretionary and results in final agency action. 40 C.F.R. §§

1508.1(q)(1)(ii), (iii). Major federal actions may include “new and continuing activities,

including projects and programs entirely or partly financed, assisted, conducted, regulated, or

approved by Federal agencies.” 40 C.F.R. § 1508.1(q)(2). CEQ regulations provide that major

federal actions “tend to fall within one of the following categories,” and list as a category the

“[a]pproval of specific projects, such as construction or management activities located in a

defined geographic area. Projects include actions approved by permit or other regulatory

decision as well as Federal and federally assisted activities.” 40 C.F.R. § 1508.1(q)(3)(iv).

       21.     A non-federal project may be a major federal action subject to the requirements of

NEPA where a federal agency exercises “sufficient control and responsibility” over the project.

40 C.F.R. § 1508.1(q)(1)(vi).

       22.     Pursuant to CEQ regulations, 40 C.F.R. § 1507.3, the Department of the Interior

(“DOI”) has adopted regulations that establish procedures for itself and its constituent bureaus,

including FWS, to use for compliance with NEPA and CEQ regulations implementing NEPA. 43

C.F.R. § 46.10(a). These DOI regulations state that “[a] bureau proposed action is subject to the

procedural requirements of NEPA if it would cause effects on the human environment and is

subject to bureau control and responsibility.” 43 C.F.R. § 46.100(a) (internal citations omitted).
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For the purposes of these regulations, “bureau” means “bureau, office, service, or survey with the

Department of the Interior.” Id. § 46.30.

       23.     Where required, an EIS must be prepared “before making a decision on whether

to proceed with the proposed action.” 43 C.F.R. § 46.400. An EIS “shall be prepared early

enough so that it can serve as an important practical contribution to the decision-making process.

. . .” 40 C.F.R. § 1502.5.

       24.     An agency may adopt categorical exclusions for categories of proposed actions

the agency has determined normally do not have a significant effect on the human environment

and therefore do not require preparation of an EA or an EIS. 40 C.F.R. § 1501.4(a). Pursuant to

CEQ regulations, 40 C.F.R. § 1507.3, DOI has adopted department-wide categorical exclusions

that apply to all its bureaus, 43 C.F.R. § 46.210, and FWS has adopted additional categorical

exclusions that apply to actions by that agency, DM Part 516 Ch. 8.

       25.     If a categorical exclusion covers an agency’s proposed action, the agency must

evaluate whether “extraordinary circumstances” exist such that the normally excluded action

may have a significant environmental effect and the agency must prepare an EA or an EIS. 40

C.F.R. § 1501.4(b); 43 C.F.R. § 46.205(c)(1). DOI’s department-wide procedures for evaluating

whether extraordinary circumstances exist state that “extraordinary circumstances” exist for

actions with “highly controversial environmental effects.” 43 C.F.R. § 46.215(c).

       26.     Agency action must comply with NEPA if the action is “functionally equivalent”

to issuing a permit authorizing activity that would otherwise be unlawful. Ramsey v. Kantor, 96

F.3d 434, 444 (9th Cir. 1996) (finding that issuance of an ESA section 7 incidental take

statement permitting the limited take of endangered species was “functionally equivalent” to
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issuing a permit because it was a “prerequisite” for the states’ activity, which would have

otherwise been unlawful under the ESA, and was therefore a major federal action); Sierra Club

v. U.S. Army Corps of Engineers, 803 F.3d 31, 46 (D.C. Cir. 2015) (finding that incorporation of

an ESA section 7 incidental take statement into a pipeline project’s Clean Water Act

verifications permitting the limited take of endangered species was the “functional equivalent” of

a permit because it authorized activity otherwise unlawful under the ESA and was therefore a

major federal action).

                               The Administrative Procedure Act

       27.     “Because [NEPA] does not contain a private right of action for those seeking to

enforce its procedural requirements, a plaintiff must rely on the Administrative Procedures Act

(APA) as the basis for its actions. . . .” Comm. to Save the Rio Hondo v. Lucero, 102 F. 3d 445,

448 (10th Cir. 1996). Under the APA, a reviewing court will “compel agency action unlawfully

withheld or unreasonably delayed,” 5 U.S.C. § 706(1), and “hold unlawful and set aside agency

action" if it is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

the law,” or “without observance of procedure required by law.” 5 U.S.C. §§ 706(2)(A), (D).


                                  GENERAL ALLEGATIONS

       28.     FWS entered into the Agreement with CPW (then known as the “Division of

Wildlife”) pursuant to section 6(c) of the ESA, 16 U.S.C. § 1535(c), in 1976, and has renewed

the Agreement annually each year thereafter. A copy of the Agreement is attached hereto as

Exhibit A.




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       29.     Section 2(b) of the Agreement provides a limited waiver of the ESA’s “take”

prohibitions, authorizing a qualified employee or agent of CPW acting in the course of his

official duties to “take any resident federally listed Endangered fish or wildlife for conservation

purposes that are consistent with this Cooperative Agreement or any Project Agreement attached

thereto.” Agreement § 2(b). However, such take may not be “reasonably anticipated” to result in

the death or permanent disabling of the specimen, the removal of the specimen from Colorado,

the introduction of the specimen or its progeny to any area beyond the historical range of the

species, or the holding of the specimen in captivity for more than 45 consecutive days. Id.

       30.     Section 5(a) of the Agreement requires CPW to annually request that the

Agreement be renewed for the upcoming period, and submit with its request certain supporting

documents, including a list of any substantial changes in the endangered and threatened wildlife

conservation program since the date of the previous program submission.

       31.     Upon information and belief, FWS has never conducted a NEPA analysis prior to

its decision to renew the Agreement.

       32.     In 2020, Colorado voters narrowly passed Proposition 114, codified at Section 33-

2-105.8, C.R.S., requiring the Commission to “[d]evelop a plan to restore and manage gray

wolves in Colorado” and “[t]ake the steps necessary to begin reintroductions of gray wolves by

December 31, 2023,” among other things. C.R.S. §§ 33-2-105.8(2)(a), (d).

       33.     The Division developed the Plan, which the Commission finalized and

unanimously approved on May 3, 2023.

       34.     The Plan requires the Division to capture ten to fifteen wolves annually by

trapping, darting, or net gunning them in a donor state, and transporting them in a crate by
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vehicle or aircraft to western Colorado. These actions are prohibited by 16 U.S.C. §

1538(a)(1)(B) in any state in which the gray wolf is a federally listed engendered species,

including Colorado.

       35.     The Plan includes the transfer of thirty to fifty wolves over a three-to-five-year

period onto private and state-owned land in two geographic areas in Colorado beginning in 2023.

The northern area encompasses an area along the I-70 corridor between Glenwood Springs and

Vail and extends down the Roaring Fork Valley. The southern area encompasses an area along

the Highway 50 corridor between Monarch Pass and Montrose and includes the Gunnison Basin.

       36.     CPW selected the release areas based on the ecological suitability and potential

for human-wolf conflict of an area. CPW identified the Gunnison Basin as having high

ecological suitability for gray wolves and as a possible wolf release location.

       37.     Gray wolves will disperse from their release locations and establish territories

within any suitable habitat, including within the Gunnison Basin.

       38.     The Plan also involves lethal and non-lethal methods to address wolf conflicts,

including intentionally causing discomfort or pain to individual wolves to alter their behavior.

       39.     FWS prepared an EIS for its proposed action to designate the gray wolf

population in Colorado as a nonessential experimental population under section 10(j) of the ESA,

16 U.S.C. § 1539(j), due to the level of public interest in and the public controversy of the plan

to reintroduce gray wolves to Colorado. USFWS, FEIS, Colorado Gray Wolf 10(j) Rulemaking,

at 1-2, 4-3 (Sept. 2023). The Final EIS (“FEIS”) and Draft Record of Decision were published

September 15, 2023. The Final Record of Decision was published on November 8, 2023.


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       40.     The FEIS prepared for the proposed 10(j) rule does not address the environmental

consequences of reintroducing gray wolves in Colorado. FWS, FEIS, Colorado Gray Wolf 10(j)

Rulemaking, at 1-5, 2-3, 2-4, 3-1 (Sept. 2023).

       41.     The final 10(j) rule does not on its own grant CPW sufficient protection from

ESA liability to carry out gray wolf reintroduction pursuant to the Plan. See FWS, Record of

Decision, Establishment of a Nonessential Population of the Gray Wolf (Canis lupus) in

Colorado, at 3–7, Table 2-1 (Nov. 2023).

       42.     On October 17, 2023, David Klute, Species Conservation Unit Supervisor for

CPW, sent FWS a letter requesting renewal of the Agreement for the period of October 1, 2023

through September 30, 2024, and attached the supporting documents required by Section 5(a) of

the Agreement, including the list of substantial changes to the endangered and threatened

wildlife conservation program since the date of the previous program submission.

       43.     The list of substantial changes to the program since the previous program

submission included the planned reintroduction and management of gray wolves according to the

Plan. The reintroduction and management of gray wolves was not part of any previous program

submission.

       44.     In November 2023, FWS sent a letter to CPW informing CPW that, based on a

review of the Plan and other supporting documents included with the request, FWS had

determined that CPW’s endangered and threatened wildlife conservation program, which for the

upcoming period includes the reintroduction and management of gray wolves according to the

Plan, was adequate and active and was approving the request to renew the Agreement for the

period of October 1, 2023 through September 30, 2024. This letter was signed by Liisa Niva,
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FWS Acting Field Office Supervisor, on October 19, 2023, Maria Boroja, FWS Assistant

Regional Director Ecological Services, on November 16, 2023, and Anna Munoz, FWS Regional

Director, on November 20, 2023.

       45.     But for FWS’s approval of CPW’s request to renew the Agreement, CPW and the

Division would be unable to take the actions necessary to capture and transport wolves into

Colorado without violating the ESA. 16 U.S.C. § 1538(a)(1)(B).

       46.     Upon information and belief, FWS did not conduct a NEPA analysis prior to

authorizing renewal of the Agreement and approval of the wolf reintroduction.

       47.     The environmental impacts of the reintroduction of wolves in Colorado have not

been the subject of any analysis under NEPA.

       48.     FWS prepared environmental impact statements for past wolf reintroduction

efforts due to intense public controversy, including for the gray wolf reintroduction in

Yellowstone National Park and central Idaho and for the Mexican wolf reintroduction in Arizona

and New Mexico. 62 Fed. Reg. 2375, 2378 (1997). Like these past efforts, Colorado’s wolf

reintroduction efforts are highly controversial.

       49.     The presence of wolves negatively impacts the livestock and other industries by

increasing costs and decreasing local spending, impacting many businesses and communities.

Release of wolves in Colorado is likely to have other negative effects on the Plaintiffs and their

members, including but not limited to impacts to GCSA’s efforts to protect the federal listed

Gunnison Sage Grouse, impacts to range management and the use of grazing allotments, impacts

to other uses of public lands, and more.


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          50.   The cost to implement mitigation measures to decrease conflicts between wolves

and livestock can be significant while not providing permanent or guaranteed results. Such

measures commonly include hiring additional range riders, deploying guard dogs, and installing

barriers or electrified flagging, lights, and sound devices that may ward off wolves, among other

things.

          51.   Wolves prey on livestock and cause stress to livestock that reduces their weight

and decreases revenue for livestock producers.

          52.   The individual members of GCSA and CCA own and graze livestock in the

Gunnison Basin and other areas identified by CPW in the Plan as having a high ecological

suitability for wolf reintroduction. Plaintiffs’ members will suffer specific negative effects due to

the presence of wolves, including but not limited to predation, livestock stress, and the economic

cost of wolf deterrence measures.

          53.   Wolves reduce ungulate populations, decreasing hunting opportunities and traffic

to rural areas that rely on hunters and other wildlife related recreationists to power their

economies.

          54.   Wolf release in Colorado is immanent. CPW announced on December 5, 2023

that it was sending employees to Oregon to procure wolves for transportation and release in

Colorado, and that it intended to release wolves in Colorado on or before the end of 2023. If

CPW is allowed to release wolves in Colorado before FWS complies with NEPA, this will

irrevocably change the status quo and irreparably harm Plaintiffs and their members for the

reasons stated herein.


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       55.        GCSA and CCA actively participated in the development of the Plan and

expressed their concerns regarding the scope of impacts associated with the potential release

throughout that process. GCSA also sent letters to FWS, first on September 18, 2023 and again

on October 5, 2023, requesting that FWS conduct NEPA review the agency’s decision to renew

the Agreement for the upcoming period, including the environmental impacts of wolf

reintroduction.


                                 FIRST CLAIM FOR RELIEF
                            (Renewal of the Agreement Violates NEPA)

        56.       Plaintiffs restate and incorporate the allegations in Paragraphs 1 through 55 in this

First Claim for Relief.

        57.       Under the APA, a court must “compel agency action unlawfully withheld” and

“set aside agency action” that is “not in accordance with law.” 5 U.S.C. § 706(2)(A).

        58.       NEPA requires that an agency prepare an EIS prior to taking a major federal

action significantly affecting the quality of the human environment. 42 U.S.C. § 4332(2)(C); 40

C.F.R. § 46.400.

        59.       The decision by FWS to renew the Agreement for the upcoming period of

October 1, 2023 through September 30, 2024 was a discretionary final agency action that

authorizes CPW to take actions that would otherwise constitute unlawful take of listed species

including the gray wolf, and that are necessary for CPW to reintroduce the gray wolf to

Colorado. These actions include, but are not limited to, capturing, handling, and transporting

gray wolves. For this reason, the renewal functions as an approval of the highly controversial

reintroduction of gray wolves in Colorado and permits and supports CPW’s implementation of
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the Plan and its take of wolves. CPW could not implement the Plan and reintroduce gray wolves

in Colorado without approval by and support from FWS.

        60.    The decision by FWS to renew the Agreement for the upcoming period was

unlike its decisions to renew the Agreement for any past period because of the impending wolf

reintroduction. Upon information and belief, this decision marks the first time FWS has

approved the exercise of authority under the Agreement, or under any Section 6 cooperative

agreement, to reintroduce of a highly controversial listed species by a state and would enable the

first reintroduction of wolves in the United States without FWS preparing an EIS, allowing FWS

to evade its statutory obligations.

        61.    FWS cannot find that CPW’s conservation programs for all resident endangered

or threatened species is adequate without preparing an EIS considering the Plan’s impacts on the

human environment because of the highly controversial and consequential nature of

reintroducing the gray wolf to Colorado. The process through which CPW created the Plan is not

an adequate substitute for NEPA and does not fulfill its requirements or purpose. Catron County

Bd. of Com’rs, New Mexico v. U.S. Fish and Wildlife Serv., 75 F.3d 1429, 1437 (10th Cir. 1996)

(finding that “[p]atrial fulfillment of NEPA’s requirements . . . is not enough”).

        62.    Renewing the Agreement for the upcoming period was a major federal action

significantly affecting the quality of the human environment that will harm Plaintiffs and their

members.

        63.    FWS has not prepared an environmental impact statement on the reintroduction of

gray wolves in Colorado as required by law. Therefore, FWS must be compelled to prepare an


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EIS and the decision to renew the Agreement for the upcoming period must be reversed and set

aside. 5 U.S.C. §§ 706(1), (2)(A).


                                     REQUEST FOR RELIEF

       WHEREFORE, Plaintiff requests that this Court:

   a) Issue a declaratory judgment that the federal defendants have violated NEPA by
      renewing the Agreement for the period of October 1, 2023 through September 30, 2024
      without preparing an environmental impact statement on the reintroduction of gray
      wolves in Colorado;

   b) Require the Federal Defendants to comply with the provisions of NEPA and prepare an
      environmental impact statement on the reintroduction of gray wolves in Colorado;

   c) Hold unlawful, reverse, and set aside the decision to renew the Agreement for the period
      of October 1, 2023 through September 30, 2024 until the Federal Defendants comply
      with NEPA;

   d) Issue an injunction prohibiting the state defendants from releasing any gray wolves into
      Colorado unless and until the federal defendants lawfully renew the Agreement after
      complying with NEPA;

   e) Allow Plaintiffs to recover the costs of this action, including attorneys’ fees; and

   f) Grant such other and further relief as the Court deems just and proper.




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Respectfully submitted this 11th day of December, 2023.

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                                           Colorado Cattlemen’s Association




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                                              Verification


      I, Robert Farnam, declare as follows:
   I. l am the president of plaintiff Colorado Cattlemen's Association and a resident of the
      State of Colorado.
  2. I have personal knowledge of my own activities and the activities and concerns of the
     Colorado Cattlemen's Association and its members, including those set out in the
     foregoing Verified Motion, and if called on to testify I would competently testify as to the
     matters stated herein.
   3. I verify under penalty ofperjury under the laws of the United States of America that the
      allegations in this Verified Motion of which l have personal knowledge aJ"e true and
      correctto the best of my knowledge and belief. 28 U.S.C. § 1746.
  4. Executedonthisll�dayofDecember2023.
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                                                     Robert Farnam
                                                     President, Colorado Cattlemen's Association




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